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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TAMARA JEAN FARRELL-SHANLEY,         )
an individual,                       )
                                     )             CASE NO.: 1:21-cv-00985-JPB
            Plaintiff,               )
vs.                                  )
                                     )
REKLAW, L.L.C.,                      )
a Georgia Limited Liability Company, )
                                     )
and                                  )
                                     )
ARTHUR W. WALKER,                    )
an Individual,                       )
                                     )
            Defendants.              )
___________________________________/ )

                     JOINT NOTICE OF SETTLEMENT

      PLEASE TAKE NOTICE that Plaintiff and Defendants have reached an

agreement regarding all substantive issues in dispute. The parties are currently in

the process of reducing their agreement to writing and obtaining their respective

client’s signatures. The parties anticipate filing a joint stipulation for dismissal

within twenty (20) days and request that all deadlines and/or hearings be adjourned

in the interim.

Dated: May 6, 2021



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Respectfully Submitted,                          Respectfully Submitted,

/s/ John A. Moore         .                      /s/Perry A. Phillips           .
John A. Moore, Esq.                             Perry A. Phillips, Esq.
Georgia Bar No.: 519792                         Georgia Bar No. 576550
Of Counsel                                      Perry A. Phillips, LLC
The Moore Law Group, LLC                        358 Roswell Street
1745 Martin Luther King Jr., Drive              Suite 1130
Atlanta, GA 30314                               Marietta, GA 30060
Tel.: (678) 288-5601                            Tel: (770) 421-6040
Fax: (888) 553-0071                             Fax: (770) 373-4311
jmoore@moorelawllc.com                          pphillips@pwrlaw.com

Attorneys for Plaintiff                         Attorneys for Defendants


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 6th day of May, 2021, I electronically

filed the foregoing with the Clerk of Court using the CM/ECF system with a copy

electronically delivered through CM/ECF to the following attorneys of record:

Perry A. Phillips, Esq.
Perry A. Phillips, LLC
358 Roswell Street
Suite 1130
Marietta, GA 30060
                                            /s/ John A. Moore
                                            John A. Moore, Esq.




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing JOINT

NOTICE OF SETTLEMENT has been prepared in compliance with Local Rule

5.1(B) in 14-point Times New Roman type face.

This 6th day of May, 2021.

                                          /s/ John A. Moore
                                          John A. Moore, Esq.
                                          Georgia Bar No. 519792
                                          The Moore Law Group, LLC
                                          1745 Martin Luther King Jr., Drive
                                          Atlanta, Georgia 30314
                                          Fax: (888) 553-0071
                                          Tel: (678) 288-5601
                                          jmoore@moorelawllc.com
                                          Attorney for Plaintiff




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